302 F.2d 729
    Virgil HUTCHISONv.UNITED STATES of America.
    No. 7007.
    United States Court of Appeals Tenth Circuit.
    April 24, 1962.
    
      Appeal from the United States District Court for the District of Wyoming.
      No attorney for appellant.
      Robert N. Chaffin, U. S. Atty., and Leroy V. Amen, Asst. U. S. Atty., Cheyenne, Wyo., for appellee.
      Before MURRAH, Chief Judge, and BREITENSTEIN, Circuit Judge.
      PER CURIAM.
    
    
      1
      Docketed and dismissed April 24, 1962, on motion of appellee for failure of appellant diligently to prosecute.
    
    